Case 3:24-cv-00122-DCJ-CES-RRS Document 77-1 Filed 02/26/24 Page 1 of 1 PageID #:
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF LOUISIANA


   PHILLIP CALLAIS, LLOYD PRICE, BRUCE
   ODELL, ELIZABETH ERSOFF, ALBERT
   CAISSIE, DANIEL WEIR, JOYCE LACOUR,
   CANDY CARROLL PEAVY, TANYA                       Case No. 3:24-cv-00122-DCJ-CES-RRS
   WHITNEY, MIKE JOHNSON, GROVER
   JOSEPH REES, and ROLFE MCCOLLISTER,              Judge David C. Joseph
                                                    Judge Carl E. Stewart
                     Plaintiffs,                    Judge Robert R. Summerhays

          v.
                                                    Magistrate Judge Kayla D. McClusky
   NANCY LANDRY, in her official capacity as
   Secretary of State of Louisiana,

                     Defendant.

                                            ORDER

         IT IS ORDERED that Sarah Brannon be and is hereby admitted to the bar of this Court pro

  hac vice on behalf of Proposed Intervenors Press Robinson, Alice Washington, Clee Ernest Lowe,

  Ambrose Sims, Edgar Cage, Dorothy Nairne, Davante Lewis, Edwin René Soulé, Martha Davis,

  Louisiana State Conference of the NAACP, and Power Coalition for Equity and Justice in the

  above-described action.

         SO ORDERED on this, the        day of             , 2024.




                                                              U.S. Magistrate Judge
